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                EXHIBIT 1
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                                 Western District of Texas

                       RICHARD LOWERY
                                                                                )
                               Plaintiff                                        )
                                   v.                                           )       Civil Action No. 1:23-cv-129-DAE
                                                                                )
                      LILLIAN MILLS, et al.

                                                                                )
                              Defendant                                         )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To: Kelly Kamm
     4703 Gold Flower Hollow
     Austin, TX 78731

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material:
         All emails or written communications concerning Richard Lowery, his appearance on the Richard
         Hanania hosted podcast, or any Tweet or online article authored by Lowery, that are associated with the
         email account: mccombsprof@yahoo.com or any other personal email account under the custody and
         control of Kelly Kamm.

  Place:                                                                                  Date and Time:
  By physical mail to:                                                                                          01/11/2024 5:00 pm
       Institute for Free Speech, 1150 Connecticut Avenue,
       NW, Suite 801, Washington, DC 20036

  or by electronic mail to: dkolde@ifs.org

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                 Date and Time:


The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule 45 (d)
and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are attached.
Date:       12/11/2023

                                   CLERK OF COURT
                                                                                             OR

                                           Signature of Clerk or Deputy Clerk                                           Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)                                  Richard Lowery, plaintiff

, who issues or requests this subpoena, are: Endel Kolde, Institute for Free Speech, 1150 Connecticut Ave., NW, Suite 801,
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Washington, D.C. 20036; Tel: (202) 301-1664; Email: dkolde@ifs.org
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                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                     (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                       (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                  These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                    stored information:
person subject to the subpoena. The issuing court must enforce this                   (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                   documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                   course of business or must organize and label them to correspond to
who fails to comply.                                                               the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                             (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                      Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or               electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                  in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                  (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                      Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or            responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                 information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                  accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14               discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                    that the information is not reasonably accessible because of undue
following rules apply:                                                             burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving               order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production                good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                     court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and             (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s                (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                        information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                            protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                        (i) expressly make the claim; and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                               communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer           revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                   parties to assess the claim.
employed, or regularly transacts business in person — except that,                  (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                   subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where             preparation material, the person making the claim may notify any
the trial is held;                                                                 party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if         After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                 destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                       or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by               reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                  before being notified; and may promptly present the information to
subpoena if it requires:                                                           the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                 who produced the information must preserve the information until
development, or commercial information;                                            the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                 (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                           who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur          subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                 subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances               place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
